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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


U.S. SECURITIES AND EXCHANGE
COMMISSION,
               Plaintiff,

       vs.

VUUZLE MEDIA CORP.,                                   Civil Action No. _______________
RONALD SHANE FLYNN, and
RICHARD MARCHITTO,                                    JURY TRIAL
                                                      DEMANDED
               Defendants.


                                          COMPLAINT

       Plaintiff United States Securities and Exchange Commission (“SEC” or the

“Commission”) alleges as follows against the following Defendants, whose names and last

known addresses are set forth below:

       a.      Vuuzle Media Corp. – 42 Broadway, Suite 12-117, New York NY, 10004;

       b.      Ronald Shane Flynn – Angeles City, Philippines and/or Dubai, United Arab
               Emirates;

       c.      Richard Marchitto – Rockaway, New Jersey.

                                           SUMMARY

       1.      This action concerns an offering fraud perpetrated by Vuuzle Media Corp.

(together with its predecessor entities, hereinafter referred to as “Vuuzle”) and its founder,

Ronald Shane Flynn (“Flynn”), and aided and abetted by Richard Marchitto (“Marchitto”).

       2.      From approximately September 2016 through at least May 2020, Vuuzle and

Flynn offered and sold more than $14 million of Vuuzle common stock and warrants to investors

throughout the United States. In violation of the securities laws, Flynn secretly diverted
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approximately $5 million to support his aggressive fund-raising operations and pay commissions

to stock promoters. Flynn misappropriated another nearly $5 million in direct transfers to his

personal bank accounts overseas and by using corporate credit and debit cards for personal items,

such as dating and gambling applications, gold bars, and luxury travel. An additional

approximately $2 million appears to have been used for other expenses in furtherance of the

fraud, including, but not limited to, Ponzi-like payments to a limited number of investors, Fed Ex

charges, rent for a New York office, and attorney fees.

       3.      To raise funds, Vuuzle and Flynn falsely represented to investors that Vuuzle was

a legitimate, successful, and growing company in the business of providing online live streaming

and entertainment services. In fact, Vuuzle was little more than a front for a boiler room Flynn

controlled.

       4.      Operating primarily out of the Philippines under a series of different corporate

entities, Flynn, directly and through marketing teams acting at his direction, engaged in

aggressive and high-pressure sales campaigns. Among other tactics, Flynn and his boiler room

employees cold-called potential investors and, through relentless and deceptive phone and email

communication, convinced them to buy Vuuzle securities. In return for bringing investor funds

to Vuuzle, Flynn paid substantial commissions to himself and others.

       5.      The securities offered were common stock. The price per share ranged from $1 to

$5, with most investors paying $5 per share. Many investors were also granted warrants that

provided the investor the purported right to purchase additional shares for a limited time at a

discounted price. None of these securities were registered with the Commission.

       6.      Vuuzle and Flynn made numerous materially false and misleading statements in

their communications with investors, filings with the Commission, and in offering documents,



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including Vuuzle’s Private Placement Memoranda (“PPMs”). For instance, Vuuzle and Flynn

told investors that their funds would be used to operate and build Vuuzle’s online streaming

business, which would earn millions of dollars in revenue from service fees and advertising. In

fact, of the $14 million raised in investor funds, Vuuzle and Flynn used only approximately $2

million to build the streaming applications, which served as props to raise more investor funds.

       7.      Vuuzle and Flynn also falsely represented Vuuzle as a “pre-IPO” investment

opportunity that would provide returns to investors in the form of dividends and skyrocketing

post-IPO stock values. Yet, Vuuzle has never made a profit, never paid dividends to any

investor, and never made a public offering on any stock exchange. From its inception in October

2016 through May 2020, Vuuzle’s U.S. bank account reflects total business revenue of less than

$1,670.

       8.      Vuuzle’s public filings and offering documents falsely suggest Flynn had only a

peripheral relationship with the company, if any. For example, in the PPMs, Vuuzle described

Flynn as merely a “non-voting beneficial owner” of a Vuuzle corporate shareholder. And

Vuuzle’s Forms D, filed with the Commission in 2017 and 2019, do not name Flynn as a related

party at all. In fact, however, Flynn exercised ultimate control over every part of Vuuzle’s

business for the primary purpose of enriching himself.

          9.   Vuuzle and Flynn concealed Flynn’s control over Vuuzle by falsely representing

to investors and the public that Vuuzle was operated by a legitimate team of independent

executive officers. In early 2018, Flynn hired two former executives of a publicly-traded

company to ostensibly serve as Vuuzle’s Chief Executive Officer (“CEO”) and Chief Operating

Officer (“COO”). Their hiring was all for show. During their time at Vuuzle, both individuals




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raised serious questions about Flynn’s operation of Vuuzle, and both were gone by November of

that year.

        10.    Vuuzle and Flynn were aided and abetted in their fraud by Marchitto, a former

dentist who had lost money investing in one of Flynn’s previous business ventures. He provided

substantial assistance to Vuuzle and Flynn by acting as their U.S. corporate and financial

presence, thereby enhancing Vuuzle’s aura of legitimacy as a U.S.-based company. Because

Flynn avoided U.S. jurisdiction, Marchitto was instrumental to the fraud.

        11.    Specifically, Marchitto (a) organized Vuuzle’s predecessor legal entity and served

as its initial member; (b) opened and maintained a U.S. bank account for Vuuzle, which was

used to receive and disburse the overwhelming majority of investor funds; (c) maintained a New

York office space, which was represented to investors as Vuuzle’s primary place of business;

and (d) facilitated Flynn’s misappropriation of investor funds by transferring funds to Flynn’s

accounts overseas and opening and maintaining corporate credit cards, which Flynn used for

personal expenses.

        12.    Marchitto was the sole signatory to Vuuzle’s U.S. bank account and had direct

access to that account. Marchitto also collected mail from the New York office space and

deposited investor checks to Vuuzle’s U.S. bank account. Because he had all the account

information, Marchitto knew or was reckless in not knowing that investor funds were deposited

to that U.S. bank account, and that his actions directly aided Flynn in misappropriating these

funds. By his conduct, he substantially assisted Flynn’s and Vuuzle’s violations of the securities

laws.

        13.    By perpetrating this offering fraud, Vuuzle and Flynn have violated Section 17(a)

of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77q(a)] and Section 10(b) of the



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Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 [17

C.F.R. § 240.10b-5] thereunder, and Marchitto aided and abetted those violations. By failing to

register the offering of Vuuzle securities, Vuuzle and Flynn also have violated Section 5 of the

Securities Act [15 U.S.C. § 77e]. And, by acting as a broker in selling Vuuzle securities without

being registered as, or associated with, a registered broker-dealer, Flynn has violated Section

15(a) of the Exchange Act [15 U.S.C. § 78o(a)].

       14.     Because of the Defendants’ unlawful conduct, the Commission respectfully

requests that the Court: (i) permanently enjoin each Defendant from further violations of the

foregoing securities laws, (ii) order each Defendant to disgorge the unlawful profits from their

violations with prejudgment interest, (iii) impose civil money penalties on each Defendant, and

(iv) impose such other and further relief as the Court may deem just and appropriate.

                                JURISDICTION AND VENUE

       15.     The Court has jurisdiction over this action pursuant to Section 20 of the Securities

Act [15 U.S.C. §§ 77t(b)] and Sections 21A and 27 of the Exchange Act [15 U.S.C. §§ 78u-1,

78aa]. Defendants, directly or indirectly, singly or in concert with others, made use of the means

or instruments of transportation and communication in interstate commerce, or of the mails, in

connection with the acts, transactions, and practices alleged in this Complaint.

       16.     Venue is proper in this district under Section 22(a) of the Securities Act [15

U.S.C. § 77v(a)] and Section 27(a) of the Exchange Act [15 U.S.C. § 78aa] because, among

other things, Defendant Marchitto resides in this district, and Defendants Vuuzle and Flynn have

targeted, communicated with, and raised money from investors that reside in this district.

                                         DEFENDANTS

       17.     Vuuzle Media Corp. is a Delaware corporation formed on August 22, 2017 as a

successor entity to Boink Live Streaming LLC, which was incorporated in Delaware on

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September 16, 2016. (A separate corporation called Boink Live Streaming Corp. was also

incorporated in Delaware on August 22, 2017 and, until October 26, 2018, when the name was

officially changed to Vuuzle Media Corp., company documents referred to the entity

interchangeably as Boink Live Streaming, Boink Live Streaming Corp., and Boink Live

Streaming LLC.) Vuuzle markets itself as a provider of online live streaming and entertainment

services. Vuuzle has claimed at various times to have offices around the world, including in

New York City, Las Vegas, and Scottsdale, as well as the Philippines, United Arab Emirates, and

United Kingdom. Vuuzle was founded by Flynn, who controlled Vuuzle’s operations at all times

during the relevant period.

       18.     Vuuzle has never registered any of its securities with the Commission. Vuuzle

filed a Form D Notice of Exempt Offering of Securities on September 26, 2017 (in the name of

Boink Live Streaming Corp.), and an amendment on February 15, 2019 (in the name of Vuuzle

Media Corp.), claiming an exemption from registration under Securities Act Rule 506(b).

       19.     Ronald Shane Flynn (a/k/a Ronnie Shane), age 56, is a United States citizen,

resident of the Philippines and/or the United Arab Emirates, and the founder of Vuuzle. While

Flynn currently holds no official title at Vuuzle, he is Vuuzle’s majority shareholder and

exercises ultimate control over all aspects of Vuuzle’s business, including its operations, online

presence, communications with investors, and company finances.

       20.     Flynn has been subject to at least two state cease-and-desist orders in connection

with his prior solicitations of investors: one dated October 4, 2000 by the Ohio Division of

Securities; and a second dated September 22, 2016 by the State of California Department of

Business Oversight. Flynn was a registered representative of a registered broker-dealer from




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November 1988 to March 1989, but he is not currently registered with the Commission in any

capacity.

       21.     Richard Marchitto, age 72, is a retired dentist residing in Rockaway, New

Jersey. Marchitto has held various titles at Vuuzle, including “VP Marketing” and “board

director.” He acts on behalf of Vuuzle at Flynn’s direction. For example, at Flynn’s direction,

Marchitto established the original Vuuzle entity (Boink Live Streaming LLC) on September 28,

2016 and was its initial member. Also at Flynn’s direction, Marchitto opened Vuuzle’s primary

U.S. bank account (initially using his home address) – which Defendants used to receive and

transfer investor assets – and provided Flynn with electronic access to that account while

Marchitto remained the sole signatory. In addition, Marchitto opened credit card accounts in the

names of his former dental practice and various Vuuzle entities and granted Flynn the use of

those cards. Marchitto has never been registered with the Commission in any capacity.

                                             FACTS

I.     Vuuzle’s Purported Business

       22.     Vuuzle and Flynn convinced investors to buy Vuuzle securities by presenting

Vuuzle as a legitimate, successful, and growing provider of online live streaming and

entertainment services. Investors were inundated with communications drafted and sent by

Flynn, directly or through his marketing teams, that used hyperbole to describe Vuuzle, its

products, and the online entertainment industry as whole.

       23.     Vuuzle, Flynn, and his subordinates told investors that Vuuzle would use their

funds to grow and operate Vuuzle’s business. But instead, Flynn misappropriated the vast

majority of what Vuuzle received. Of the $14 million investors gave Defendants, only

approximately $2 million was used to operate Vuuzle – just enough to build and maintain



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superficial versions of the online streaming applications from which Vuuzle was purportedly

going to earn revenue. These purported products were mere props Flynn used to raise additional

investor funds.

       24.        Beginning in September 2016, Vuuzle and Flynn told investors that Vuuzle was

in the process of building a mobile phone application called “Bonk.live” (later called

“Bonk.be.live”) through which the company would provide a platform for performers who

wanted to livestream their talent to an audience. Flynn, Vuuzle, and Flynn’s marketing teams

provided investors with revenue projections showing millions and, in some instances, even

billions of dollars in expected company earnings. For example, in a September 11, 2016 email to

investors, Flynn claimed that “BONK LIVE HAS 6 UNIQUE INCOME STREAMS” and

depicted math equations purportedly reflecting revenues from each income stream ranging from

$50,457,600 per year to more than $21 billion per year.

       25.        On October 30, 2016, Flynn sent an another email to investors attaching a “press

announcement” in which he described Bonk.live as “the newest streaming super app in the

world” which was “nothing less than genius as it allows digital publishers, advertisers, and the

live social streamers to make enormous money.” In this press announcement, Flynn claimed that

the “advertising carousel” on Bonk.live “will earn the company more th[a]n 50 million United

States Dollars per year” and that advertising during an influencer’s live stream could result in

another “$350,000,000 Million” to “1 billion USD to 3 billion USD Dollars per year.”

       26.        Vuuzle and Flynn told investors that Bonk.live users would be able to purchase

virtual gift packages that they could send to live streamers they liked. In that same October 30,

2016 announcement, Flynn told investors that “Bonk potential earnings with only 100 million

users buying one package of $128.95 per year is more than 12 billion [dollars] per year.”



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Performers that received enough virtual gifts were supposed to be able to cash out the value of

those gifts through debit cards. Indeed, Flynn sent investors photos of what appeared to be

Bonk-branded debit cards. Yet, Vuuzle never actually created or distributed any such cards.

       27.     Despite these promises to investors, Bonk.live never made millions of dollars, or

really any money at all. Using outside vendors to build the platform, Flynn directed just enough

money to create an application with the minimum functionality necessary for downloading on a

mobile device. Flynn then used the existence of the app as proof of Vuuzle’s legitimacy, by, for

example, sending investors images of the Bonk.live application downloaded to his own phone.

       28.     Vuuzle’s revenue projections assumed that there would be millions of Bonk.live

users. In fact, however, there were not. From May 25 through November 15, 2018, the average

daily number of devices using the Bonk.live app was 371. Flynn knew the actual number of

users because he received weekly emails containing updated charts of Bonk.live user data.

       29.     Moreover, Flynn knew that there never could be millions of users. In an email

dated September 27, 2018, a Vuuzle adviser told Flynn that his first discussion about the

Bonk.live application was “terrifying” because he “just found out how weak and undeveloped

this whole initiative is right now.” In particular, the adviser emphasized that he had just learned

that the software could only handle 40,000 users with “a full system crash imminent at 50,000+.”

Flynn responded that he already knew the app’s limitations, stating: “[t]he question about users

is not a new question as it was addressed months ago.”

       30.     In approximately November 2018, Vuuzle began to shift its focus away from the

Bonk.live app. Flynn, directly and through his marketing teams, told investors that Vuuzle was

moving its business toward online streaming of television shows, through a mobile application it

later called “Vuuzle TV.” Flynn drafted and sent to investors, directly and through his marketing



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teams, multiple emails raving about Vuuzle TV, its capabilities, and its potential. According to

this marketing material, Vuuzle TV was going to offer free as well as paid versions of its app and

would earn money through subscription fees and advertising. Investors were told that online

streaming was going to be the next revolution in entertainment and that Vuuzle investors would

earn “gargantuan return[s].”

          31.   For example, on April 13, 2019, Flynn sent an email to investors with an attached

document titled, “Vuuzle TV’s Ten Million Dollar Investment Is Set To Win OTT subscribers

while eliminating the competition.” Flynn encouraged investors to “cash out of those mediocre

investments and finally make a sizeable investment in Vuuzle Media and get paid for being in

the right place at the right time with an investment that will win you BIG money!!!!!!!”

          32.   Flynn’s statement that “ten million dollar[s]” was invested into building Vuuzle

TV was false. As described above, Flynn directed just enough money toward the business to

build a mobile application that users could download and view some television shows. Once the

app was available, Flynn sent investors, directly and through his marketing teams, links to the

Vuuzle.TV site along with images of Vuuzle.TV on his phone.

          33.   And, contrary to the promises of “BIG money,” Vuuzle TV has not resulted in the

promised revenues. From its inception in October 2016 through May 2020, Vuuzle’s U.S. bank

account reflects total business revenue of less than $1,670. In its entire four years of operation,

through all the various mobile products Vuuzle and Flynn have hyped, Vuuzle has never made a

profit.




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II.    Vuuzle was a Front for Flynn’s Boiler Room

       34.     Rather than the legitimate, successful business touted to investors, Vuuzle was

simply a front for a boiler room, the sole purpose of which was to bring investor funds to Vuuzle

to be spent by Flynn and at Flynn’s direction.

       35.     Operating primarily out of the Philippines, Flynn directed marketing teams

headed by four to six “Investment Representatives” (“IRs”) who were mostly close associates of

Flynn or members of his family. The marketing teams operated, at varying times, through four

companies under Flynn’s control: WorldCom Online Marketing, Inc.; Bonk Marketing Trade

and Promotion, Inc.; iMagically LLC; and Vuuzle Media Corp Fze LLC.

       36.     Together, Flynn and the marketing teams engaged in coordinated and aggressive

sales campaigns to convince investors to buy Vuuzle securities. These sales campaigns involved

repeated, high-pressure sales calls. Flynn and his marketing teams also inundated current and

potential investors with emailed marketing materials – sometimes several in a single day –

relating to the business of Vuuzle, its products, and the industry as a whole.

       37.     Vuuzle and Flynn identified potential investors by purchasing “lead lists” of

purportedly accredited investors from several independent sellers, for anywhere from $1,000 to

$5,000 per list. In addition to names and contact information, certain lists also included

information such as the types of investments the investor was interested in and, sometimes,

descriptions of the investors themselves. For instance, one lead list received by Flynn on June 5,

2019, included additional, often profane, descriptors next to certain names such as “dumbass,”

“old,” or “stroke.”

       38.     After receiving the lists, Flynn had his marketing teams “wash” them for

duplicate names from prior lead lists and then directed them to cold-call the remaining entries.



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Flynn provided his marketing teams with initial “sales pitch” scripts for them to use in their calls

with potential investors.

         39.   In most cases, Flynn’s scripts directed comparisons of Vuuzle to Facebook,

Twitter, and Google, highlighting the billions of dollars made by Facebook shareholders from

the Facebook IPO. In at least one instance, aware of the misrepresentations typically made to

investors, Flynn instead recommended that a particular investor be pitched “super clean.” In a

July 19, 2018 email, Flynn directed an IR to call an acquaintance of the then-CEO of Vuuzle.

Specifically, Flynn instructed the IR to “just pitch clean because he will tell [the CEO]

everything and I don’t want him to scare [the CEO] into thinking we are selling dirty.”

Notwithstanding Flynn’s efforts, Vuuzle’s CEO resigned a few months after Flynn’s July 2018

email.

         40.   Flynn controlled nearly every aspect of the sales campaigns. He directed the sales

pitches, created marketing material sent to investors via email, oversaw Vuuzle’s online

presence, controlled the content posted to Vuuzle’s websites, followed up directly with each

investor by phone to address any concerns, if necessary, and often “closed” the investment deal.

         41.   In addition to the IRs and marketing representatives, Flynn retained a staff of

secretaries, IT support specialists, content writers, and finance employees who reported solely to

him and who helped him solicit investor funds. Flynn required each group of employees to

provide him with periodic reports of their “accomplishments.” These reports make clear that

selling Vuuzle securities – not building a legitimate business – consumed the overwhelming

majority of Flynn’s and his employees’ time and energy.

         42.   For example, at any given time, Flynn retained anywhere from four to thirteen

secretaries to contact existing and potential investors (who they referred to as “clients”) and to



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maintain meticulous records of their efforts to procure additional investor funds. To control the

messaging to investors, Flynn required his secretaries to send him written investor

communications for his approval before they were sent to investors. In addition, Flynn arranged

for his secretaries to receive trainings in dealing with investors. As part of these trainings, Flynn

was provided reports on each secretary’s skills in “pitch[ing] a customer,” including evaluations

of their English pronunciation and their ability to recite “rebuttals” to standard investor concerns.

       43.     On a daily basis, each secretary provided Flynn with a report of her

“accomplishments.” These reports included detailed information about which investors the

secretary had contacted, when the communications occurred, what was said, how much the

investor planned to invest, and what next steps were necessary to close the investment deal.

Periodically, secretaries also sent group reports to Flynn, titled “Incoming Done Deals,” which

were consolidated lists of investors who had committed funds that Flynn could expect to receive

shortly.

       44.     Similarly, Flynn received daily reports from his “IT Department.” These reports

reflected virtually no activity relating to the production or maintenance of the Bonk.live or

Vuuzle TV applications, the ostensible focus of Vuuzle’s business. Instead, his IT employees

primarily reported providing computer and tech support to Flynn and his marketing teams,

“washing” lead lists, creating Skype and email accounts for new marketing representatives, and

double-checking investor calls reported by Flynn’s secretaries.

       45.     In addition, Flynn received “Treasury Department” reports, which had nothing to

do with business revenue or Vuuzle’s books and records. Instead, these reports detail finance

employees’ efforts to track investments made into Vuuzle, issuing share certificates and warrant

agreements, and maintaining the Vuuzle shareholder records.



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       46.     Marketing team meeting notes similarly reflected the pressure to make investor

sales within the boiler room. For instance, in a meeting that took place on May 25, 2019, one IR

told his marketing representatives that he needed potential investors to be “fully pitched and not

half-pitched,” and that marketing representatives should “do whatever it takes every day to

produce” investor sales. As the IR reminded his marketing team, their focus should always be on

the money: “[y]ou have good opportunities to make good cash right here and right now if you

stay focus[ed] and do what needs to be done every day.”

       47.     As compensation for recruiting investors, Vuuzle and Flynn paid commissions to

Flynn, his IRs, and other boiler room staff based upon their respective roles. To receive

payment, the IR was required to submit a request or invoice to Flynn for his approval. No one

got paid unless Flynn approved it.

       48.     Accordingly, detailed spreadsheets were emailed to Flynn by his IRs, which

calculated each investor’s “done deal” investment amount, the initials of the boiler room staff

person credited with “opening” and/or “closing” the deal, and the percentage commission earned.

According to these charts, Flynn and his IRs received commissions from 8% to 15% of investor

funds, while lower level marketing reps were paid commissions of up to 2.5% of investor funds.

III.   Vuuzle and Flynn Misused $10 Million in Investor Funds

       49.     Vuuzle and Flynn falsely represented to investors, directly and through the

marketing teams, that Vuuzle was a legitimate business and that it would use investor funds to

grow and operate the company.

       50.     For example, a 2017 PPM that was provided to investors describes the use of

investor proceeds as follows:




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       51.     In this chart and other similar statements, Flynn, Vuuzle, and their marketing

team represented that Vuuzle would use more than 99% of investor funds for building,

marketing, and selling Vuuzle’s online products. They also claimed that only 0.5% of investor

funds would be used in connection with offering securities. Similarly, in an email dated April

20, 2020, Flynn told an investor that “the corporation is using its funds to grow the platform.”

       52.     Vuuzle made similarly false statements in two Forms D filed with the

Commission in 2017 and 2019.




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       53.     Both Forms D contained identical responses that specifically represented that

Vuuzle had paid $0 in sales commissions and $0 in finders’ fees in connection with the offering

of Vuuzle securities.

       54.     As Flynn knew, these statements were false. Of the $14 million invested in

Vuuzle, only approximately $2 million was ultimately used for the costs of building and

maintaining Vuuzle’s online products. Flynn diverted more than $10 million for his personal

use and benefit and to support his boiler room operations, including paying commissions to

himself and others.

       A.      Flynn Personally Misappropriated $5 million of Investor Funds

       55.     Flynn diverted a total of nearly $5 million of investor proceeds from Vuuzle’s

primary U.S. bank account for his own benefit. Specifically, from November 21, 2016 to August

22, 2019, Flynn transferred (or directed Marchitto to transfer) more than $2.6 million in investor

funds from Vuuzle’s U.S. bank account to Flynn’s personal bank accounts in Singapore and the

United Arab Emirates. In addition, Flynn used investor funds to pay more than $2.3 million in

expenses that he incurred using corporate credit and debit cards.

       56.     The overwhelming majority of the $2.3 million in expenses were personal. They

included, for instance, nearly $1 million in purchases at jewelry stores in Singapore, Dubai, and

the Philippines. Receipts from the Dubai jewelry store reflect that some of Flynn’s purchases

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were for 24 Karat gold bars. Flynn also racked up more than $500,000 in credit card charges for

his travel and entertainment, including international business class flights, luxury hotels, strip

clubs, and restaurants. Flynn also used the Vuuzle debit card connected to the primary U.S. bank

account that received investor funds to spend another more than $25,000 on clearly personal

items, such as online dating and gambling applications. Investors unwittingly paid for it all.

       B.      Vuuzle Paid Undisclosed Commissions to Flynn and Others

       57.     In addition to $5 million misappropriated for Flynn’s personal use, Vuuzle and

Flynn diverted another approximately $5.5 million in investor funds to sustain Flynn’s boiler

room operations, including paying undisclosed commissions to himself and his marketing staff.

       58.     Flynn engaged in efforts to conceal the nature of these payments. From

November 22, 2016 through May 28, 2020, Flynn transferred (or directed Marchitto to transfer)

a total of $5.1 million from Vuuzle’s primary U.S. bank account to overseas accounts in the

names of entities under Flynn’s control, including more than $2.2 million to his company,

iMagically.

       59.     Flynn attempted to legitimize some of these payments by directing iMagically to

send Vuuzle invoices for “consulting fees.” However, these invoices clearly reflect

commissions, as they contain investor names, along with the amounts invested, and a description

of the charges that said “40% Fees, Consulting, meetings, phone, time, FedEx, Credit charges &

secretarial.” The bottom of each invoice had a note stating “[i]f you have any questions about

this invoice please contact Ronnie Shane Flynn” and providing Flynn’s phone and email address.

       60.     Once the funds arrived in the overseas accounts, Flynn directed them to be

disbursed to himself and his marketing staff, mostly in the form of commissions. For example,

on April 9, 2019, Flynn sent his treasury staff an email with the subject line, “10k sent to



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magically” and a message saying, “SENT YOU TEN THOUSAND, GET JOSHUA PAID…”

Similarly, on August 24, 2019, Flynn sent his staff an email that stated “I have sent off an

additional 5 k that can be used for the commission this week coming up.”

       61.     Flynn directed an additional $400,000 of investor funds from Vuuzle’s U.S. bank

account to accounts controlled by independent stock promoters that recruited investors to

Vuuzle. Emails reflect that these stock promoters were also paid commissions based on the

amounts invested by their investor recruits.

IV.    Other Material Misrepresentations to Investors

       62.     To induce investors to purchase Vuuzle securities, Vuuzle and Flynn made

additional materially false and misleading statements, including that Vuuzle intended to proceed

with an IPO, pay investors dividends, and that Vuuzle was operated by a team of independent

executive officers.

       A.      False Promises of an Initial Public Offering

       63.     From the beginning, Flynn and his marketing teams falsely presented Vuuzle

(initially called “Boink Live”) as a pre-IPO investment opportunity. For example, a December

15, 2016 email sent to investors and potential investors stated, in part:


               This is your Opportunity to finally win big! You missed out on
               FACEBOOK, you missed out on TWITTER and GOOGLE, you
               didn’t have an opportunity to be considered for SNAPCHAT.

               Now you have a chance to get involved with the #1 social platform
               for broadcasting, advertising and watching live streaming
               videos…. Facebook founder Mark Zuckerberg earned 19.1 Billion
               United States Dollars after just 30 seconds in the stock market!!!!

               … BONK LIVE is like mixing up FACEBOOK, GOOGLE,
               TWITTER, and SNAPCHAT and injecting it with an overdose of
               steroids!


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       64.        Another email sent on the same day to many of the same investors and potential

investors emphasized the supposed urgency of investing immediately, stating:

                  The opportunity is now and it won’t last forever, or even a few
                  more months. Investment is secured and once the 250 investors
                  required to go public has been reached, Bonk Live will be the next
                  big stock people wish they didn’t pass down no matter how much
                  money they didn’t have at the time. Beg, Borrow, Steal or make
                  more excuses…

       65.        Flynn and his marketing teams were even more explicit in phone conversations,

telling investors and potential investors that they could expect Vuuzle’s stock price to increase to

up to $25 to $30 a share or more after the promised IPO. However, notwithstanding claims that

the investment opportunity would not last “a few more months,” Vuuzle did not go public.

       66.        The inevitable lack of an IPO – Vuuzle was, after all, little more than a boiler

room front – did not deter Flynn, Vuuzle, and the marketing teams from continuing to lure

investors with promises that an IPO would eventually occur. For example, on August 19, 2019,

investors received an email stating that “[w]e are very close to making the announcement that the

company will be going public.” The email claimed that Vuuzle had hired a “federally regulated

trust company in Canada” as the company’s transfer agent. Investors were advised that

“[e]veryone must talk with Ronnie Flynn who will be gathering information” to provide to the

transfer agent.

       67.        These representations were false and misleading, and Flynn knew it. As of

August 2019, Vuuzle had made no preparations to go public. Despite having told investors that

Vuuzle had hired a transfer agent, Flynn sent an email to a former Vuuzle CEO five days later

denying that fact, stating “[w]hen we have a transfer agent, I will inform you. Until then, I am

still building the company.” That same day, Flynn, responding to the former CEO’s questions




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about Vuuzle’s plans to go public, stated, “[i]f there was anything to tell you I would … [r]ight

now the company is negative and owes lots of money.”

       68.     In May 2020, Vuuzle and Flynn sent investors yet another email announcing

plans for an IPO. This time, they claimed that a group of Swedish investors had paid $50 million

to acquire 10% of Vuuzle. Vuuzle and Flynn represented that these purported investors would

form a Swedish corporation, called Vuuzle Media Sweden AB, which they intended to publicly

list on the Nasdaq Stockholm. Since May, Flynn and Vuuzle have continued to send investors

emails reinforcing the idea that Vuuzle is about to be listed in Sweden.

       69.     Vuuzle and Flynn have used the purported upcoming Swedish IPO to pressure

some investors to exercise their warrant options – thereby sending even more money to Vuuzle.

Yet there is no evidence that Vuuzle is preparing to go public in Sweden. Moreover, the Nasdaq

Stockholm has certain listing criteria – including a documented history of profitability – which

Vuuzle cannot possibly meet because, as Flynn knows, it has never made a profit.

       B.      False Promises of Dividends

       70.     To induce individuals to invest, Vuuzle and Flynn also promised that Vuuzle

would pay shareholders dividends.

       71.     Vuuzle, Flynn, and the marketing teams, however, apparently gave different

investors and potential investors different information about the dividends. Some earlier

investors were told to expect dividend payments within a few months of their investments. For

instance, one email sent to investors and potential investors on December 5, 2016 stated that,

“[t]he first projected dividend is for the end of February amounting to around $2.50 per share per

quarter on the low side to $10 per share on the high side,” based on expected revenues of

$50,000,000 in the first quarter of 2017.



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       72.     Another investor received an emailed memorandum from the purported

“CEO/President” of Vuuzle dated July 26, 2017, which represented in relevant part that “[a]s a

result of the stream of revenue, the company intends to pay its first quarterly dividend on or

about Oct. 19, 2017 with additional quarterly dividends on or about every 90 days thereafter …”

       73.     According to the July 26, 2017 memo, “[a]t the time the company goes public, the

dividend will cease or be re-evaluated.” In contrast, other investors were told they would not

receive dividends until Vuuzle was publicly listed.

       74.     In any event, no dividends were ever paid, and no dividends were ever going to be

paid because, as Flynn knew, Vuuzle was not a legitimate business. Vuuzle had little to no

revenue from operations, and investor funds mostly lined Flynn’s pockets.

       C.      Flynn Concealed his Interest and Control from Investors

       75.     Flynn exercised ultimate control over every part of Vuuzle’s business for the

nearly exclusive purpose of enriching himself. No one was paid without Flynn’s approval –

from the purported President and CEO, to the technical vendors, to the lead list providers, to his

own marketing representatives. Flynn controlled who was hired and fired, what material was

posted to Vuuzle’s online websites, what was said to investors and prospective investors, how

and when share certificates were issued, and how investor funds were spent.

       76.     Yet Vuuzle and Flynn falsely represented to investors and the public that Vuuzle

was a legitimate business operated by a team of independent executive officers. Flynn presented

himself as merely the founder and a major shareholder of the company, with no actual control

over Vuuzle’s operations.

       77.     For instance, Vuuzle’s 2017 PPM only mentioned Flynn as the “non-voting

beneficial owner” of iMagically LLC, which was described as the majority shareholder of



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Vuuzle, holding 80 million shares. According to the PPM, Josh Flynn (Flynn’s adult son) was

the “manager” of iMagically, and he was, supposedly, “free to vote his shares without

consequence from the Non-Voting Member” (Flynn).

       78.     This statement was false. Flynn himself was Vuuzle’s majority shareholder, and

the 80 million shares were issued in his name. iMagically was nothing more than a corporate

name used for Flynn’s boiler room, where Flynn was everyone’s “boss,”, including his son Josh.

       79.     Indeed, Josh Flynn had to request his father’s approval even to get paid. And on

those occasions when Flynn determined that Josh Flynn (along with other boiler room

employees) had not met his employment obligations, Flynn would discipline him by taking away

some of his commissions for the relevant period.

       80.     For example, on July 19, 2019, Flynn directed a treasury department employee to

send a notice to a group of four IRs, including his son, Josh Flynn, which stated:

               Despite all of the reminders and warnings by the Founder, still it
               has been observed that you are not reporting to work daily and if
               it’s not late, early our or worse is absent.

               International Representatives should be on top of their Marketing
               Sales to drive cash, as you know that the Founder is paying all the
               bills and expense of the Company…

               For this reason, the Founder will be deducting certain amount
               from your commission for the following violation:

               a.     Absent for 1 day ---------------------------$200.00 Deduction
               b.     Late for the day or early out-------------$100.00 Deduction


       81.     When investors asked Flynn questions about Vuuzle, such as why dividends had

not been paid or why the company has not progressed to an IPO as promised, Flynn claimed he

was not in control. For instance, on April 12, 2019, an investor emailed Flynn stating, “you

should remember what you put me through on this thing when you told me over and over again

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that this comp[a]ny would go public and I would have my money in time to pay my taxes.” In

response, Flynn stated “I am a shareholder in the company like you are.” He then directed the

investor to speak with an IR for additional information.

       82.     In that same email, the investor asked Flynn to return $10,000 because “I relied

on what you told me and now I am really in a pickle.” Flynn responded by claiming he did not

have the money to give the investor; yet, less than two weeks later, Flynn found $13,000 to pay

commissions to his boiler room staff. In an email dated April 23, 2019, Flynn forwarded a wire

transfer notice of $13,000 from Vuuzle’s U.S. bank account to iMagically, directing his staff to

“get Joshua his commission asap…money sent!!!!!!!!”

       83.     Vuuzle concealed from investors Flynn’s financial relationship with the company,

including the transfers of funds between Vuuzle and Flynn’s overseas entities such as

iMagically. In fact, the PPM included a section that expressly denied the existence of any related

party transactions:

               Certain Relationships and Related Transactions
               We have not entered into any material transactions with any
               director, executive officer, promoter, security holder who is a
               beneficial owner of 5% or more of our common stock, or any
               immediate family member of such persons.

       84.     This statement was obviously false. As discussed above, Vuuzle paid Flynn and

his companies approximately $5 million for recruiting investors, including more than $2.2

million transferred to an overseas account held in the name of Flynn’s company, iMagically.

       85.     While Vuuzle’s PPM misrepresented the nature of Flynn’s role, Vuuzle’s Forms

D, filed with the Commission in 2017 and 2019, did not even name Flynn as an individual

related to Vuuzle.




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       86.     The regulations for such Forms D required Vuuzle to provide: (1) a list of related

persons, defined to include “[e]ach executive officer and director of the issuer and person

performing similar functions”; (2) the name and address of each person who was to be or will be

paid commissions or other consideration in connection with the sales of securities in the offering;

(3) the amount of sales commissions paid or estimated to be paid; and (4) the “amount of gross

proceeds of the offering that has been paid or is proposed to be used for payments to any of the

persons required to be named as executive officers, directors or promotors” of the issuer.

       87.     Accordingly, Vuuzle was required to identify Flynn on the Forms D as both the

person “functionally” in control of Vuuzle and as a promoter of Vuuzle securities who was paid

commissions. Instead, the Forms D listed as related parties, individuals that, in reality, were

hired by Flynn, reported to Flynn, and relied on Flynn to be paid.

V.     Marchitto Aided and Abetted Vuuzle and Flynn in Defrauding Investors

       88.     Vuuzle and Flynn were aided and abetted in their fraud by Marchitto, a former

dentist who claims to have lost money investing in one of Flynn’s previous business ventures.

Marchitto has been involved with Vuuzle from the beginning. Over time, Marchitto has held

various titles with Vuuzle. For instance, in Vuuzle’s 2017 PPM, Marchitto was described as the

“VP Marketing.” Sometime in 2019, Marchitto was named a Vuuzle director and identified

himself as such on Vuuzle’s 2019 Form D amendment filed with the Commission. In

communications with third parties, Flynn and Marchitto often referred to each other as business

“partners.”

       A.      Marchitto Provided Substantial Assistance to Vuuzle and Flynn

       89.     At Flynn’s direction, Marchitto provided substantial assistance to Vuuzle and

Flynn, including by establishing a U.S. corporate and financial presence for Vuuzle, collecting



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and depositing investor checks to Vuuzle’s U.S. bank account, and facilitating Flynn’s misuse of

investor funds.

       90.        Because Flynn was unwilling to travel to the United States, Marchitto’s acts were

essential to the success of Vuuzle’s and Flynn’s fraud. Without Marchitto’s assistance, Flynn

would not have been able to portray Vuuzle as a U.S. company, a claim several investors have

identified as a significant factor in their decision to invest in Vuuzle.

       91.        From at least September 9, 2016 – before the first Boink entity was organized in

the United States – through November 23, 2016, Marchitto accepted Vuuzle investor funds into

the account of another Flynn-controlled entity, called E Diamond Trade LLC, for which

Marchitto was the signatory. In total, more than $175,000 of Vuuzle investments were deposited

to the E Diamond account via both wire-transfer and checks that were clearly marked for

investment. Of these funds, only $1,000 ever ended up in Vuuzle’s primary U.S. Bank account,

while Marchitto used more than $95,000 to pay Flynn’s credit card bills. He sent another

$55,000 directly to Flynn’s personal bank account in Singapore.

       92.        On September 16, 2016, Marchitto also organized Vuuzle’s first predecessor

entity, Boink Live Streaming LLC (“Boink LLC”), in Delaware, using Marchitto’s home address

in Rockaway, New Jersey, as the entity’s corporate address. On September 23, 2016, Marchitto

successfully obtained a tax identification number for Boink LLC from the Internal Revenue

Service. And, on September 28, 2016, Marchitto had himself designated the “Initial Member” of

the Boink LLC.

       93.        In addition to forming Boink LLC, Marchitto also facilitated the incorporation of

Boink Live Streaming Corp. (“Boink Corp.”). On August 23, 2017, Marchitto wrote a letter to

the Delaware Secretary of State, Division of Corporations, wherein he identified himself as the



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“organizer of ‘Boink Live Streaming LLC’” and expressly authorized the incorporation of Boink

Corp.

        94.    On October 11, 2016, Marchitto opened Vuuzle’s primary bank account at a large

New York City-based bank. The account was initially opened in the name of Boink LLC and

later changed to Vuuzle Media Corp. This was Vuuzle’s primary U.S. bank account, and it was

used to receive the overwhelming majority of investor funds. Although account records listed

Marchitto as the sole signatory at all times, Marchitto gave Flynn electronic access to the

account, including the ability to execute transactions in the account. In addition, Marchitto

arranged for the bank to send wire transfer confirmations directly to Flynn’s email address.

        95.    Flynn and Vuuzle directed Vuuzle investors to send their funds to this U.S. bank

account, and Marchitto (at Flynn’s direction) and Flynn transferred the overwhelming majority

of these proceeds to overseas accounts in the name of Flynn or entities Flynn controlled.

Marchitto monitored the U.S. account and provided Flynn or his boiler room staff with updates

when investor funds were deposited into the account. Periodically, Marchitto printed copies of

bank account statements and sent them via facsimile to Flynn’s office in the Philippines.

        96.    In addition to providing a U.S. bank account for Vuuzle, Marchitto also facilitated

the process of obtaining and maintaining a U.S. address for Vuuzle. By his actions, Marchitto

created the appearance that Vuuzle had a substantial physical corporate presence in New York.

Many investors, reassured that Vuuzle was a U.S.-based company, mailed their investment

checks and subscription documentation to this New York address.

        97.    In the beginning, Marchitto used his own residential address in New Jersey on

Vuuzle documents. At some point, Marchitto began using the address of his former Manhattan




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dental practice located at “42 Broadway, 1536, New York, New York.” This address even

appeared on early versions of the 2017 PPM.

       98.     Beginning in 2017, Vuuzle began using a virtual office address located at “42

Broadway, Suite 12-117, New York, New York” – again, the same building where Marchitto’s

former dental practice was located. Marchitto signed the checks issued from Vuuzle’s U.S. bank

account to pay the monthly rent on this address.

       99.     Vuuzle and Flynn identified the Manhattan location as Vuuzle’s primary place of

business on several documents, including the Forms D filed with Commission, and in email

communications with investors. When investors sent mail to this New York address – including

subscription documentation and investment checks – Marchitto was responsible for picking up

the mail, forwarding relevant communications on to Flynn, and depositing any investor checks

into Vuuzle’s U.S. bank account.

       B.      Marchitto Knew or Was Reckless in Not Knowing that Vuuzle and Flynn
               Misused Investor Funds

       100.    Marchitto knew or was reckless in not knowing that Vuuzle and Flynn were

engaged in fraudulent conduct; he had information that (1) Vuuzle’s U.S. bank account was

almost entirely funded by investors and (2) that a significant amount of those investor funds were

spent by Flynn or sent to his personal bank accounts. Moreover, Marchitto ignored early

communications from at least one investor expressing concerns about Vuuzle, and he thereafter

continued to provide assistance to Vuuzle and Flynn.

       101.    Again, Marchitto was the sole signatory and had direct access and control over the

U.S. bank account, which received nearly $14 million in investor funds. Account statements

reflecting these investments were first sent directly to Marchitto’s residence and later to the

Manhattan address that Marchitto monitored.

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        102.      Investor deposits to Vuuzle’s U.S. bank account came in the form of wire

transfers or checks, primarily from individuals or retirement accounts in large, round dollar

increments. In many instances, investors clearly marked the wire or check as being for the

purchase of Vuuzle securities. For example, on July 30, 2019, Marchitto sent an email to Flynn

with an attached photo of three checks totaling $41,500, each of which clearly notes in the memo

line, “stocks” or “shares.”

        103.      On July 31, 2017, an investor contacted Marchitto about his investment, noting

that he had received inconsistent information from Vuuzle about dividends and revenues. That

investor explicitly warned Marchitto to “[j]ust be aware and make your own decisions consistent

with fact.”

        104.      On September 4, 2017, that same investor emailed Marchitto again, this time with

a series of questions, noting that “[i]t seems that the primary income …was from the sale of

stock.” Marchitto responded by saying “I have no knowledge to answer[] the questions u

presented.” Yet, at that time, Marchitto had direct access to Vuuzle’s primary bank account,

which contained numerous entries that plainly identified deposits as investments. Consequently,

when responding, Marchitto either chose not to look into the source of Vuuzle’s income, or he

examined the statements and lied. Nonetheless, Marchitto continued to assist Vuuzle and Flynn

in their fraud.

        105.      During this time, Marchitto also knew or was reckless in not knowing that Flynn

had misappropriated nearly $5 million in investor funds. Flynn and Marchitto (at the direction of

Flynn) transferred nearly $2.6 million of investor funds from Vuuzle’s U.S. bank account to

Flynn’s personal accounts overseas. Marchitto knew these were Flynn’s personal accounts




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because Flynn sent Marchitto the account information, which showed clearly that the accounts

were in his name.

       106.    Vuuzle’s U.S. bank account statements also reflected more than $25,000 in debit

card charges by Flynn for expenses – such as dating websites, Netflix, and iTunes – that had no

discernable business purpose. Apple receipts sent to Flynn confirm the personal nature of the

iTunes purchases, the vast majority of which were for online gambling, dating, and video games.

       107.    In addition, Marchitto opened credit card accounts in the name of his former

dental practice, as well as in the names of Boink and Vuuzle, and granted Flynn use of these

cards. Marchitto had access to these statements, too, because they were likewise sent directly to

him at his New Jersey residence and, later, to Vuuzle’s New York City office.

       108.    As described above, the credit card statements Marchitto received make clear that

Flynn used these ostensibly corporate credit cards for his personal expenses, including luxury

travel, jewelry store purchases, and strip clubs. Nonetheless, Marchitto used investor funds in

Vuuzle’s U.S. bank account to pay off the balances on these credit cards.

VI.    Vuuzle’s Securities Offering Was Not Registered

       109.    Despite raising over $14 million through the sale of stocks and warrants from

2016 to at least May 2020, Vuuzle has never registered with the Commission any securities

offering. On September 26, 2017, Vuuzle filed with the Commission a Form D Notice of

Exempt Offering of Securities (under its previous name, Boink Live Streaming Corp.), which

announced a $10,000,000 private offering of securities. An amended Form D was filed on

February 15, 2019. In these notices, Vuuzle claimed that its offering was exempt from

registration under Rule 506(b) under the Securities Act.




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       110.    In fact, however, Vuuzle did not qualify for any exemption for a “private

offering” of securities because, it was conducting a general solicitation through the cold-calling

of potential investors.

       111.    Moreover, it does not appear that Vuuzle, Flynn, or his marketing teams made any

independent effort to determine the accredited investor status, financial qualifications, or

investment experience of Vuuzle investors, all of which is pertinent to the availability of the Rule

506(b) exemption Vuuzle claimed.

       112.    Vuuzle’s 2017 PPM stated that it was offering shares to “accredited and

sophisticated investors only.” The associated subscription documents contained a check-the-box

certification for investors to indicate whether they were “accredited” or “sophisticated.”

Although these completed subscription forms were sent to Flynn and his marketing teams for

their review, many investors never checked either box on the subscription form. Still, Flynn and

Vuuzle took their money.

       113.    According to a treasury department report sent to Flynn on August 2, 2019, one

investor apparently told a Vuuzle employee that he was not accredited. This information was

provided to Flynn, who instructed that the investor be accepted anyway. Four days later, Vuuzle

accepted the investment and issued the investor Vuuzle shares.

       114.    As a result, numerous unaccredited investors ended up investing in Vuuzle. None

of these investors ever received any revenue or earnings reports of any kind.

                                  FIRST CLAIM FOR RELIEF
                          Violations of Section 10(b) of the Exchange Act
                                   and Rule 10b-5 Thereunder
                                    (Against Vuuzle and Flynn)

       115.    The Commission realleges and incorporates by reference the allegations in

paragraphs 1 through 114, as if they were fully set forth herein.

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       116.    By engaging in the conduct described above, Vuuzle and Flynn, directly and

indirectly, in connection with the purchase or sale of securities, and by use of the means or

instrumentalities of interstate commerce, or the mails, has, with scienter: (a) employed devices,

schemes or artifices to defraud; (b) made untrue statements of material facts or omitted to state

material facts necessary in order to make the statements made, in light of the circumstances they

were made, not misleading; and/or (c) engaged in acts, practices, or courses of business which

operated or would operate as a fraud or deceit upon any person in connection with the purchase

or sale of any security.

       117.    By engaging in the foregoing misconduct, Vuuzle and Flynn have violated, and

unless enjoined will continue to violate, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]

and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

                                 SECOND CLAIM FOR RELIEF
                           Violation of Section 17(a) of the Securities Act
                                     (Against Vuuzle and Flynn)

       118.    The Commission realleges and incorporates by reference the allegations in

paragraphs 1 through 114, as if they were fully set forth herein.

       119.    By engaging in the conduct described above, Vuuzle and Flynn, directly and

indirectly, in the offer or sale of a security by the use of the means or instruments of

transportation or communication in interstate commerce or by use of the mails, has, with

scienter: (a) employed a device, scheme, or artifice to defraud; (b) obtained money or property

by means of any untrue statement of a material fact or any omission of a material fact necessary

in order to make the statements made, in light of the circumstances under which they were made,

not misleading; or (c) engaged in a transaction, practice, or course of business which operates or

would operate as a fraud or deceit upon the purchaser.



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        120.     By engaging in the foregoing misconduct, Vuuzle and Flynn have violated, and

unless enjoined will continue to violate, Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

                                THIRD CLAIM FOR RELIEF
               Aiding and Abetting Violations of Section 10(b) of the Exchange Act
                                  and Rule 10b-5 Thereunder
                                      (Against Marchitto)

        121.     The Commission realleges and incorporates by reference the allegations in

paragraphs 1 through 114, as if they were fully set forth herein.

        122.     By engaging in the conduct alleged above, Defendant Marchitto knowingly or

recklessly provided substantial assistance to Defendants Vuuzle and Flynn, who, with scienter,

directly or indirectly, singly or in concert with others, in connection with the purchase or sale of

a security, used the means or instrumentalities of interstate commerce or of the mails to employ

devices, schemes, or artifices to defraud; and to engage in acts, practices, or courses of business

which operated or would operate as a fraud or deceit upon others.

        123.     By engaging in the foregoing misconduct, Defendant Marchitto aided and abetted,

and unless enjoined will continue to aid and abet violations of Section 10(b) of the Exchange Act

[15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

                               FOURTH CLAIM FOR RELIEF
               Aiding and Abetting Violations of Section 17(a) of the Securities Act
                                      (Against Marchitto)

        124.     The Commission realleges and incorporates by reference the allegations in

paragraphs 1 through 114, as if they were fully set forth herein.

        125.     By engaging in the conduct alleged above, Defendant Marchitto knowingly or

recklessly provided substantial assistance to Defendants Vuuzle and Flynn, who, with scienter,

directly or indirectly, singly or in concert with others, in the offer or sale of a security, used the

means or instruments of transportation or communication in interstate commerce or used the

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mails to employ devices, schemes, or artifices to defraud, or engaged in transactions, practices,

or courses of business which operated or would operate as a fraud or deceit upon a purchaser.

        126.    By engaging in the foregoing misconduct, Defendant Marchitto aided and abetted,

and unless enjoined will continue to aid and abet violations of Section 17(a) of the Securities Act

[15 U.S.C. § 77q(a)].

                                   FIFTH CLAIM FOR RELIEF
                       Violation of Sections 5(a) and 5(c) of the Securities Act
                                     (Against Vuuzle and Flynn)

        127.    The Commission realleges and incorporates by reference the allegations in

paragraphs 1 through 114, as if they were fully set forth herein.

        128.    By engaging in conduct alleged above, Defendants Vuuzle and Flynn, directly or

indirectly, through use of the means or instruments of transportation or communication in

interstate commerce, or of the mails, offered to sell or sold securities, or carried or caused such

securities to be carried through the mails or in interstate commerce for the purpose of sale or for

delivery after sale.

        129.    No registration statement was filed with the Commission or was in effect with

respect to the securities offered by Defendants Vuuzle and Flynn prior to the offer or sale of

these securities.

        130.    By engaging in the foregoing misconduct, Vuuzle and Flynn have violated, and

unless enjoined will continue to violate, Sections 5(a) and 5(c) of the Securities Act [15 U.S.C.

§§ 77e(a) and 77e(c)].




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                                 SIXTH CLAIM FOR RELIEF
                        Violation of Section 15(a)(1) of the Exchange Act
                                          (Against Flynn)

          131.   The Commission realleges and incorporates by reference the allegations in

paragraphs 1 through 114, as if they were fully set forth herein.

          132.   By engaging in the in conduct alleged above, Defendant Flynn, by the use of

means or instrumentalities of interstate commerce or of the mails, has engaged in the business of

effectuating transactions in, or inducing or attempting to induce the purchase or sale of securities

as a “broker.”

          133.   Flynn solicited investors, promoted the merits of a Vuuzle investment, facilitated

and negotiated the transactions, supervised and controlled a securities sales force, handled

customer funds, drafted offering documents, and was paid in commissions.

          134.   During the relevant time period, Defendant Flynn was not registered with the

Commission as a broker-dealer or a person associated with a broker-dealer registered with the

Commission. Nor did any exemption from the broker-dealer registration requirements exist with

respect to the securities and transactions described in this Complaint.

          135.   By engaging in the foregoing misconduct, Flynn has violated, and unless enjoined

will continue to violate, Section 15(a)(1) of the Exchange Act [15 U.S.C. § 78o(a)(1)].

                                     PRAYER FOR RELIEF

          WHEREFORE, the Commission respectfully requests that the Court grant the following
relief:
          (a)    Enter a Final Judgment finding that Vuuzle, Flynn, and Marchitto each violated

the securities laws and rules promulgated thereunder as alleged against them herein;




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        (b)     Enter an Order permanently restraining and enjoining Vuuzle, Flynn, and

Marchitto from committing future violations of the securities laws and rules promulgated

thereunder;

        (c)     Enter an Order requiring Vuuzle, Flynn, and Marchitto to disgorge all ill-gotten

gains, including prejudgment interest, resulting from the violations alleged herein;

        (d)     Enter an Order requiring Vuuzle, Flynn, and Marchitto to pay civil money

penalties pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21A of

the Exchange Act [15 U.S.C. § 78u-1]; and

        (e)     Award such other and further relief as this Court may deem just and appropriate.


                                        JURY DEMAND

        Pursuant to Rule 39 of the Federal Rules of Civil Procedure, Plaintiff demands that this

case by tried to a jury.

Dated: January 27, 2021.                      Respectfully submitted,


                                              /s/ Daniel J. Maher
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  DESIGNATION OF AGENT FOR SERVICE UNDER LOCAL CIVIL RULE 101.1(f)

       In accordance with Local Civil Rule 101.1(f), the undersigned hereby makes the

following designation for the receipt of service of all notices or papers in this action at the

following address:

               United States Attorney's Office
               District of New Jersey
               Attention: J. Andrew Ruymann
               Assistant U.S. Attorney
               402 East State Street, Room 430
               Trenton, NJ 08608.


Dated: January 27, 2021

                                               Respectfully submitted,


                                               /s/ Daniel J. Maher
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